      Case 1-19-44290-ess              Doc 165        Filed 01/05/21         Entered 01/07/21 07:48:40




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:                                                                         Chapter 11

    CHU H. KWON, et al.,                                                        Case No. 19-44290 (ESS)
                                                                                Case No. 19-44263 (ESS)
                                                                                Case No. 19-44264 (ESS)
                                         Debtors. 1                             Case No. 19-44265 (ESS)

                                                                                Jointly Administered


    ORDER APPROVING FIRST AND FINAL FEE APPLICATION OF WINDELS MARX
      LANE & MITTENDORF, LLP FOR ALLOWANCE OF COMPENSATION FOR
       LEGAL SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
               INCURRED AS COUNSEL FOR THE DEBTORS FOR
                   THE FIRST AND FINAL PERIOD FROM
                   JULY 11, 2019 THROUGH JUNE 26, 2020


         Upon the first and final application (the “Application”) 2 of Windels Marx Lane &

Mittendorf, LLP (“Windels Marx”), former counsel to the Debtors, pursuant to Sections 330 and

331 of the Bankruptcy Code, Bankruptcy Rule 2016, and Local Rule 2016-1, for final allowance

of compensation for professional services rendered by Windels Marx totaling $207,514.00 and

reimbursement of actual and necessary expenses totaling $8,038.97 incurred during the First and

Final period from July 11, 2019 through June 26, 2020 (the “Final Period”); and the Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the

Application and the relief requested therein being a core proceeding pursuant to 28 U.S.C. §

157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and

due and proper notice of the Application having been provided to the necessary parties; and it




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  The Debtors in these chapter 11 cases (collectively, the “Debtors”), along with the last four digits of each Debtor’s
federal taxpayer-identification number are: 4811 Associates LLC (9576), 5505 Associates LLC (9596), and 5507
Associates LLC (9544).
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  All capitalized terms not otherwise defined in this Order shall have the meanings ascribed to them in the Application.
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appearing that no other or further notice need be provided; and the Court having determined that

the relief sought in the Application is in the best interests of the Debtors, their creditors, and all

parties in interest; and the Court having determined that the legal and factual bases set forth in the

Application establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

       1.      The Application is approved, and the fees and expenses requested therein in the

Application are allowed on a final basis in the amount of $207,514.00 for payment of

compensation and $8,038.97 for reimbursement of expenses incurred by Windels Marx as counsel

to the Debtors during the Final Period.

       2.      The Debtors are authorized and directed to pay Windels Marx’s approved fees and

expenses for the First and Final Period less any amounts held by Windels Marx as a retainer.

       3.      The Debtors are authorized and directed to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Application.

       4.      Notwithstanding Bankruptcy Rule 6004, this Order shall be immediately effective

and enforceable upon its entry, and the Court shall may retain jurisdiction to hear and determine

all matters arising from or related to the implementation and enforcement of this Order.




                                                                  ____________________________
 Dated: Brooklyn, New York                                               Elizabeth S. Stong
        January 5, 2021                                           United States Bankruptcy Judge
